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CARA BARBER

                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

OHANA MILITARY COMMUNITIES, )             CIVIL NO. 18-00042 KJM
LLC and FOREST CITY RESIDENTIAL )
MANAGEMENT, LLC,                )         REPLY MEMORANDUM IN
                                )         SUPPORT OF DEFENDANT CARA
               Plaintiffs,      )         BARBER’S MOTION TO DISMISS
          vs.                   )         COMPLAINT; DECLARATION OF
                                )         BRADFORD F. K. BLISS;
CARA BARBER,                    )         EXHIBIT D; CERTIFICATE OF
                                )         SERVICE
               Defendant.       )
                                )          Date:      April 30, 2018
                                )          Time:      10:00 a.m.
                                )          Judge:     Kenneth J. Mansfield
                                )




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 REPLY MEMORANDUM IN SUPPORT OF DEFENDANT CARA BARBER’S
              MOTION TO DISMISS COMPLAINT

I.    INTRODUCTION

      All of the claims that Plaintiffs Ohana Military Communities, LLC and

Forest City Residential Management, LLC (collectively, “Plaintiffs”) allege against

Defendant Cara Barber in this case have already been fully litigated in a prior civil

action in which a decision, initially in favor of Plaintiffs, was appealed to the Ninth

Circuit Court of Appeals and reversed. On remand, Judge Helen Gillmor carefully

considered the Ninth Circuit Court’s opinion, invited the parties to submit

memoranda addressing the scope of the issues remaining, and then issued a lengthy

and well-reasoned order dismissing the prior civil action. (See January 10, 2018

Minute Order attached as Exhibit “C” to the current motion.) Plaintiffs appealed

Judge Gillmor’s Minute Order dismissing their claims, and that appeal is currently

pending. Under these undisputed facts, the Complaint in this case should be

dismissed with prejudice pursuant to the doctrine of res judicata, which prevents

Plaintiffs from re-litigating the same issues in this new civil action simply to

escape the order of Judge Gillmor and the Ninth Circuit Court of Appeals.

      In their memorandum in opposition to the current motion, Plaintiffs present

two primary arguments: (1) the preliminary injunction order that was reversed by

the Ninth Circuit Court of Appeals, resulting in Judge Helen Gillmor’s dismissal of

the prior civil action, was not a “final decision on the merits” and therefore cannot
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be given res judicata effect; and (2) no court has yet addressed Plaintiffs’ claim

against Barber based upon an alleged violation of the non-disparagement clause in

the settlement agreement and Plaintiffs should, therefore, be allowed to pursue that

claim in this new civil action. These arguments by Plaintiffs are based upon an

incorrect description of the facts in the prior civil action, and the scope of the Ninth

Circuit Court’s opinion, and they do not provide grounds to deny the current

motion.



II.     DISCUSSION

      A. The Decisions By the Ninth Circuit Court of Appeals and Judge Gillmor
         Are Binding for Purposes of Applying the Doctrine of Res Judicata.

        Plaintiffs contend in their opposition that the Ninth Circuit opinion and

Judge Gillmor’s order of dismissal should not be given res judicata effect by this

court because those rulings were made in the context of a preliminary injunction

motion and are, therefore, not binding at a “trial on the merits.” This argument by

Plaintiffs completely ignores the procedural context in which the Ninth Circuit and

Judge Gillmor issued their rulings.

        It is undisputed that the prior civil action had already settled and that the

preliminary injunction motion filed by Plaintiffs was for an alleged breach by

Barber of the settlement agreement. Accordingly, the original order that was issued

by Judge Gillmor (granting Plaintiffs’ motion for a preliminary injunction), and the

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opinion that was issued by the Ninth Circuit, were, for all intents and purposes, the

equivalent of a “trial on the merits.” Simply stated, there were no further

proceedings contemplated in the prior civil action that these rulings could be

considered “preliminary” to, because that case has settled. Under these facts, the

Ninth Circuit opinion, and Judge Gillmor’s dismissal based on that opinion, are

final and binding decisions with respect to the claims that Plaintiffs are now

attempting to improperly resurrect and pursue in the current civil action.

      Plaintiffs cite numerous cases in their memorandum in opposition for the

proposition that findings of fact and conclusions of law issued in connection with a

preliminary injunction motion are not binding in a subsequent trial on the merits.

Without exception, all of the cases cited by Plaintiffs are distinguishable from this

case by the facts summarized above.

      Plaintiffs’ argument on this point also ignores the numerous cases holding

that rulings on preliminary injunction motions can, under appropriate

circumstances, be treated as final and binding. “Generally, preliminary orders do

not have a preclusive effect, but ‘that is not always true; if a case does not go all

the way to judgment, a preliminary injunction issued in it may be given collateral

estoppel effect in future litigation between the parties.’” Ocean Conservancy v.

Nat'l Marine Fisheries Serv., 416 F.Supp.2d 972, 979 (D. Haw. 2006), citing




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Gjertsen v. Board of Election Comm'rs of the City of Chicago, 751 F.2d 199, 202

(7th Cir.1984).

      The factors that are considered in determining whether a preliminary

injunction ruling should be treated as final and binding were well stated by the

Third Circuit Court of Appeals.

       Whether the resolution in the first proceeding is sufficiently
      firm to merit preclusive effect turns on a variety of factors,
      including “whether the parties were fully heard, whether the
      court filed a reasoned opinion, and whether that decision could
      have been, or actually was appealed.” In re Brown, 951 F.2d
      564, 569 (3d Cir.1991). Preclusion would seem to be
      particularly appropriate in a second action seeking the same
      injunctive relief.

Hawksbill Sea Turtle v. Fed. Emergency Mgmt. Agency, 126 F.3d 461, 474 (3d Cir.
1997).

All of the factors noted above as weighing in favor of giving “preclusive effect” to

a preliminary injunction ruling are present in this case. With respect to whether the

parties were “fully heard,” it is important to note that, before issuing her original

ruling on Plaintiffs’ motion, Judge Gillmor presided over an evidentiary hearing

that took place over the course of five days. In that hearing Plaintiffs were

afforded ample opportunity to present all of their evidence with respect to all of the

claims that they are alleging in the current civil action—including their claim for

an alleged breach of the non-disparagement clause—and the Plaintiffs had rested

their case before Judge Gillmor issued her original order. Under these facts, there is

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no factual or procedural basis for Plaintiffs to contend that Judge Gillmor’s rulings

were in any way “preliminary” and non-binding on this court.

      The fact that Judge Gillmor’s original ruling was appealed to the Ninth

Circuit, reversed, and then given further consideration by Judge Gillmor (following

an opportunity for the parties to submit memoranda addressing the scope of the

Ninth Circuit opinion) before she determined that the prior civil action should be

dismissed, are additional factors that weigh heavily in favor of giving preclusive

res judicata effect to these prior rulings. On remand, Judge Gillmor did not issue a

two-line order simply dismissing the case. On the contrary, the January 10, 2018

Minute Order is lengthy, well-reasoned and explicitly clear in explaining exactly

why a dismissal of the case, as to all issues presented in the Plaintiffs’ preliminary

injunction motion, is appropriate. (See Exhibit “C” to the current motion.) In short,

the Plaintiffs have already had their “day in court” with respect to all claims

alleged in this case, the doctrine of res judicata precludes Plaintiffs from refiling

these same claims against Barber in this civil action and their Complaint should be

dismissed with prejudice.

      B.     The Ninth Circuit Opinion Addressed Plaintiffs’ Entitlement to
             Injunctive Relief Under the Non-Disparagement Clause

      The other primary argument presented in Plaintiffs’ opposition to this motion

is their contention that “the substance of the statements identified in the Complaint

have simply not yet been addressed by any Court.” (Memo in Opp. at p. 12.) This
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contention by Plaintiffs completely ignores the scope and substance of the

evidence that Plaintiffs presented in the five-day evidentiary hearing that Judge

Gillmor presided over before her original order was appealed to the Ninth Circuit.

      It is undisputed that Plaintiffs presented evidence of Barber's alleged

violation of the non-disparagement clause in the evidentiary hearing. Plaintiffs

confirmed to the district court, twice, that all evidence relevant to the requested

injunctive relief had been presented and that, as the moving parties with the burden

of proof, they rested their case. Plaintiffs also acknowledge in their Opening Brief

in the pending appeal (Exhibit 9 to their memorandum in opposition) that "a

majority of the evidentiary hearing [on the PI motion] related to Ms. Barber's

statements in violation of the non-disparagement provision." (See Plaintiffs’

Opening Brief, Ex. 9, at 40 (emphasis supplied).) Under these facts, the record

before the Ninth Circuit Court when it issued its Memorandum Opinion included

all evidence Plaintiffs could muster to try to prove that Barber’s alleged violation

of the settlement agreement (including the non-disparagement clause) had caused

irreparable harm.

      When properly considered in this context, the Ninth Circuit Court's

statement in its Memorandum Opinion that "Barber's online activities may have

caused harm to Defendants by injuring their reputations, but . . . (t)he record does

not support the inference that her statements were sufficiently harmful to

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Defendants' reputation so as to cause a likelihood of irreparable harm(,)" confirms

the Ninth Circuit Court’s conclusion that Barber's online activities were not

sufficiently harmful to support injunctive relief under any theory. (Ninth Circuit

Memorandum Opinion, Exhibit B, at pp. 3-4.) This conclusion is further confirmed

in the Ninth Circuit’s statement that "(t)he record does not support the inference

that these statements [by Barber] induced any additional lawsuits." Id.

      Plaintiffs place undue emphasis on a footnote in the Memorandum Opinion,

which states that Barber's alleged violation of the non-disparagement provision is

not being considered, and incorrectly construe that footnote as "reserving" that

issue for future determination. Memo in Opp. at 14. This argument is incorrect for

at least two reasons. First, upon remand the district court did consider Plaintiffs’

arguments for other breaches of the settlement and concluded the lack of harm, as

found by the Ninth Circuit Court, did not support a preliminary injunction.

      Second, nowhere within its opinion does the Ninth Circuit Court suggest that

its findings regarding damage arising from the alleged conduct of Barber do not

apply equally to the alleged violation of the non-disparagement provision. In fact,

the Ninth Circuit Court directly addressed Plaintiffs’ claims of alleged harm to

their reputation by stating that although "Barber's online activities may have

caused harm to Defendants by injuring their reputations," the evidence "does not

support the inference that her statements were sufficiently harmful" to cause

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irreparable harm. By including such broad pronouncements in its Memorandum

Opinion the Ninth Circuit Court made it abundantly clear that under all of the

evidence presented, the majority of which pertained to alleged violations of the

non-disparagement provision, Plaintiffs did not meet the standard for injunctive

relief.

          It is well settled that a plaintiff may not split its causes of action. “(O)nce a

claim is brought to a final conclusion, all other claims arising out of the same

transaction or series of transactions are barred, even if based upon different

theories or if seeking a different remedy(.)” O'Brien v. City of Syracuse, 54 N.Y.2d

353, 357, 429 N.E.2d 1158, 1159 (1981); see also, Marsh USA, Inc. v. Karasaki,

No. CIV. 08-00149 SOMKSC, 2008 WL 1805662, at *5–6 (D. Haw. Apr. 22, 2008)

(the doctrine of res judicata precludes a plaintiff from splitting causes of action). In

this case, there is no question that all of the claims alleged in this new civil action

were previously ruled upon by the Ninth Circuit Court and Judge Gillmor, and

Plaintiffs are barred by the doctrine of res judicata from splitting their cause of

action and attempting to pursue the same claims against Barber in a separate civil

action.

          Plaintiffs also argue in their memorandum in opposition that “Hawai’i

preclusion law” applies in this case. Memo in Opp. at 16. This court has previously




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 described the parameters of claim preclusion by Hawaii courts in the following

 terms.

           The Hawaii courts follow the Second Restatement's transactional
          view of “same claim” for purposes of claim preclusion. Kauhane v.
          Acutron Company, Inc., 71 Haw. 458, 464, 795 P.2d 276 (1990).
          Accordingly, to determine whether a litigant is asserting the “same
          claim” in a second action, Hawaii courts look to whether the claim
          arises out of the same transaction or the same series of connected
          transactions out of which the first action arose. Id.; Restatement
          (Second) of Judgments § 24 (1982) [hereinafter “Restatement § 24”].
          The claim extinguished by an action “includes all rights of the
          plaintiff to remedies against the defendant with respect to all or any
          part of the transaction, or series of connected transactions.”
          Restatement § 24. This inquiry is made based on the facts of the
          transaction and does not depend on the number of substantive
          theories, or variant forms of relief flowing from those theories, that
          may have been available to the plaintiff; the number of primary rights
          that may have been invaded; or the variations in the evidence needed
          to support the theories or rights. Id. at 463 n. 6, 795 P.2d 276;
          Restatement § 24 comment at 197.

             Accordingly, a plaintiff cannot avoid the bar of claim preclusion
          merely by alleging conduct that was not alleged in his prior action or
          by pleading a new legal theory. McClain v. Apodaca, 793 F.2d 1031,
          1034 (9th Cir.1986). All claims arising from a single injury must be
          raised in a single action or they will be barred by res judicata.

 Pedrina v. Chun, 906 F.Supp. 1377, 1400–01 (D. Haw. 1995), aff'd, 97 F.3d 1296
 (9th Cir. 1996).

          Applying this definition of “claim preclusion” under Hawai’i law to the facts

 presented in the current motion, it is readily apparent that the claims alleged in the

 Complaint filed in this action arise from the exact same alleged conduct by Barber

 that Plaintiffs alleged as the basis for their claims in the prior civil action, which

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 have already been addressed by Judge Gillmor and the Ninth Circuit Court of

 Appeals. Accordingly, the Complaint should be dismissed with prejudice pursuant

 to the doctrine of res judicata which prevents Plaintiffs from re-litigating these

 identical issues in a new civil action.

       C.     Plaintiffs Have Previously Taken the Position That They Were Not
              Required to File a Separate Civil Action Against Barber

       Plaintiffs point out, correctly, that in opposing their preliminary injunction

 motion Barber made the argument that the district court lacked subject matter

 jurisdiction and that the issues should be presented in a separate civil action. If

 Barber had been successful in making this argument, the Plaintiffs’ motion for a

 preliminary injunction would have been dismissed, the original order by Judge

 Gillmor would not have been issued and the Ninth Circuit Memorandum Opinion

 would not exist. Obviously, Barber was not successful in getting the Plaintiffs’

 preliminary injunction motion dismissed and the orders by Judge Gillmor, and

 Memorandum Opinion by the Ninth Circuit Court, followed.

       Plaintiffs contend, in their opposition to the current motion, that Barber

 should not be allowed to argue for a dismissal of this new civil action because she

 had previously sought to preclude injunctive relief in their favor by arguing that it

 should be the subject of a separate civil action. It is Plaintiffs, however, who

 strongly advocated for being allowed to pursue their post-settlement claims against

 Barber in the prior civil action, and who now are attempting to rewrite history by
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 taking a position that is the complete opposite of the position that they successfully

 argued to obtain the initial preliminary injunction ruling in their favor.

       The fact that Plaintiffs previously argued strongly against being required to

 file a separate civil action is readily apparent by reference to their Memorandum in

 Opposition to Barber’s Motion to Dismiss Preliminary Injunction for Lack of

 Jurisdiction (hereinafter “Memo in Opp”), a copy of which is attached as Exhibit

 “D” to the Declaration of Counsel attached hereto. In their Memo in Opp, Plaintiffs

 recounted the history of Barber raising the jurisdictional issue with Judge Gillmor,

 and being advised that she intended to retain jurisdiction to rule on the preliminary

 injunction motion. (Exhibit “D” at 4-6.) Later in the Memo in Opp, Plaintiffs argue

 at length that there is no need for them to file a new complaint to pursue their

 claims against Barber because the enforcement of settlement agreements is a

 “common practice by courts” that “serves important public policy considerations

 because it allows the court that is the most familiar with the case to quickly resolve

 any dispute about the settlement.” (Exhibit “D” at 16-17.)

       No doubt Plaintiffs continued to adhere to this position right up to the point

 that Judge Gillmor dismissed the prior civil action based on the Ninth Circuit’s

 Memorandum Opinion. At that point Plaintiffs abandoned the “important public

 policy considerations” that called for the court “most familiar with the case to

 quickly resolve any dispute about the settlement,” in favor of their new strategy of

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 appealing Judge Gillmor’s ruling and refiling the exact same claims against Barber

 in this new civil action. This blatant and obvious argument by Plaintiffs on two

 sides of the same issue should not be tolerated by this court and is further evidence

 of exactly why the complaint in this action should be dismissed with prejudice.

 III.   CONCLUSION

        The factual allegations and arguments that Plaintiffs allege in the Complaint

 filed in this case were previously asserted against Barber by Plaintiffs in a prior

 civil action. In that prior civil action, the Ninth Circuit Court of Appeals

 concluded that the evidence presented by Plaintiffs does not support their

 contention that Barber’s alleged conduct resulted in any harm to Plaintiffs. Based

 on the points and authorities cited above, and in the prior memorandum in support

 of the current motion, the Complaint in this action should be dismissed with

 prejudice.

              DATED: Honolulu, Hawaii, April 16, 2018.

                                                /s/ Bradford F. K. Bliss
                                                BRADFORD F.K. BLISS
                                                Attorney for Defendant
                                                CARA BARBER




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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF HAWAII

 OHANA MILITARY COMMUNITIES, ) CIVIL NO. 18-00042 KJM
 LLC and FOREST CITY RESIDENTIAL )
 MANAGEMENT, LLC,                ) CERTIFICATE OF SERVICE
                                 )
                Plaintiffs,      )
                                 )
           vs.                   )
                                 )
 CARA BARBER,                    )
                                 )
                Defendant.       )
                                 )

                                CERTIFICATE OF SERVICE

                   I hereby certify that on April 16, 2018 and by the methods of service

 noted below, a true and correct copy of the foregoing was duly served on the

 following at their last known address:

  Served Electronically through CM/ECF:                   E-mail address

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            DATED: Honolulu, Hawaii, April 16, 2018.

                                          /s/ Bradford F. K. Bliss
                                          BRADFORD F. K. BLISS
                                          Attorney for Defendant
                                          CARA BARBER




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